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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                          UNITED STATES’ NOTICE OF FILING

         The United States of America hereby gives notice that it is providing today to the

  Special Master the United States’ Response Brief to the Special Master on Global Issues.

  While the government intended to file publicly this Response Brief, it contains references to

  Dkt. Nos. 171 and 173, which remain under seal.

         On November 9, 2022, the parties filed under seal their Joint Motion to Unseal

  Redacted Global Issues Briefs (Dkt. Nos. 171 and 173) [ECF 174]. Since the filing of this

  motion, the Court has been closed due to Hurricane Nicole and the federal holiday.

  Understandably, the Court has not yet ruled on the parties’ unsealing motion. If the Court

  grants the motion to unseal, the government will promptly file publicly its Response Brief to

  the Special Master on Global Issues.

         .

                                            Respectfully submitted,
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                                            National Security Division
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 12, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/     Julie A. Edelstein
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